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Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division; Sines v. Kessler; Case No.: 3:17CV72; Date: 2/8/19; Type of
              Hearing: Telephonic Disc Parties: 1. USMJ Joel C. Hoppe, 2. Roberta Kaplan; 3.
              Gabrielle Tenzer; 4. Yotam Barkai; 5. Unidentified speaker; Recorded by H.
              Wheeler; Time in Court: 7 min

Date          2/8/2019 Location [CVILLE-3FTR]
Case 3:17-cv-00072-NKM-JCH Document 408 Filed 02/08/19 Page 2 of 2 Pageid#: 3820
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

   Time         Speaker                                       Note
1:01:12 PM    1
1:01:21 PM    2             Robbie Kaplan
1:01:34 PM    3             Gabrielle Tenzer
1:01:53 PM    1
1:02:49 PM    2
1:02:50 PM    1
1:03:28 PM    2
1:04:34 PM    1
1:04:59 PM    4             Yotam Barkai
1:05:08 PM    1,3
1:06:02 PM    1,3
1:06:17 PM    1,3
1:07:00 PM    1,5           unknown speaker
1:07:30 PM    3
1:07:42 PM    1,3
1:08:02 PM    1
1:08:17 PM    END
1:13:14 PM




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